riO 93 chv. | 1/13) Seitrch and Seizurc Warrant

 

UNITED STATES DISTRICT CouRT

for the
Western District of l\/Iissouri

ln the Matter of the Search of

(Bi'iejlv describe tire property to be searched
or identify thc person by name and address)

/7<Sir/jlnr>DPQ

a Samsung Galaxy SB, model SlVl-GQSOU, |ntemati`onal
Nlobile Equipment |dentity (lMEl) number
3559860834700310 )

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

\../\./\_!\./\./

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Western District of tvtissouri

 

(i'dentifii the person or describe the property 10 be searched and give its fccati`on)!

A Sarrisung Ga|axy SB. model Sl\/l-GQEOU, international lV|obile Equipment ldenti`ty (thlEl) number 3559860834700310.
cellular telephone currently in the custody of the Drug Enforcement Administration, and further described in Aitachrnent A.

l find that the affidavit(s), or any recorded testiinony, establish probable cause to Search and seize the person or propeity
described above, and that such search will reveal (i'demi_'/j» die person or describe the property 10 be seized):

See Attachment B_

YOU ARE COMMANDED to execute this warrant on or before S¢_p`i¢-»Sc.r $;, QLCIJ? rer m exceed /4 dnys)
El in the daytime 6;00 a.m. to lO:OO p.m. tZlat any time in the day or night because good cause has been established

 

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whoin, or from whose premiscs, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to U.S. l\/lagistrate Judge David P. Ftush
(Uiir`ted .S'tcrtes Mngi`srmrc Jirdge)

 

g Pursuant to 18 U.S.C. § 3103a(b), l find that immediate notification may have an adverse result listed in lS U.S.C.
§ 2705 (except for delay of triai), and authorize the officer executing this warrant to delay notice to the person wito, or whose
property, will be searched or Scized rdi-eck the appropriate box)

g for 30 days mario exceed 30) l:l until, the facts justifying the knew of 1 i.
Date and time issued: S'!d§'¢{'j J;_L-SE ‘|-*~¢ ny . /

Jti-jge 'S signature

  

City and gtam; Sprlngfietd, t\/lissouri David P. Ftush, U.S. i\/lagistrate Judge

 

 

Prr`ni'ed name and title

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i¢-\U 93 {Rcv. l lfl 3) Scarch and Seizure Warranl (Page 2)

 

 

 

 

Return
Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
l7~SW-2080-DPR August 25, 2017 at 3:00pm GCSO Patrick Holtmann

 

lnventory made in the presence of :
lA Nathan Wileon

 

lnventory of the property taken and name of any person(S) seizeci:

-Digital content found on cellular phone described in Attachment A.

//Nothing followS//

 

Certif”icatio;ir

 

l declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge

Date: 3 "icf_?’plg

 

\_"'E;ecu!r`ng officer ’s signature
culna@»`_> (Jm::’é)€l DE»L\ °I'FO

Pri`med name and rifle

 

 

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